            Case 1:19-cr-00113-GLR Document 17 Filed 06/07/19 Page 1 of 1



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


 UNITED STATES OF AMERICA
                                                       CRIMINAL NO. GLR-19-0113
       v.

 RAHEEM BENJAMIN,

       Defendant.


                            MOTION TO DISMISS INDICTMENT

       Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, and by leave of Court

endorsed hereon, the United States Attorney for the District of Maryland hereby moves to dismiss

with prejudice the Indictment pending against Defendant in the above-captioned case. Identical

charges are currently pending against the Defendant pursuant to a Superseding Indictment filed in

related case number GLR-19-0128.

                                                 Robert K. Hur
                                                 United States Attorney

                                     By          __________/s/______________
                                                 Michael A. Goldsticker
                                                 Assistant United States Attorney

Leave of Court is granted for the filing of the foregoing dismissal.


______________                                    ____________________________
Date                                              Honorable George L. Russell, III
                                                  United States District Judge

Advice to U.S. Marshal:       ___ 1. Defendant is not in custody.
   (Check one)                _x_ 2. Defendant is in custody and the USAO believes that:
                                     ___ a. there is no reason to hold Defendant further.
                                     _x_ b. Defendant should be held in Federal custody
                                           (**explain below).
                                     ___ c. Defendant should be transferred to custody.
                                           (**explain below).
                              ___3. Defendant is deceased.

**Explanation:       Defendant is currently indicted and ordered to be detained in case number
                      GLR-19-0128.
